       Case 2:07-cr-00248-WBS Document 1174 Filed 11/19/12 Page 1 of 3


 1   JAMES R. GREINER, ESQ.
     CALIFORNIA STATE BAR NUMBER 123357
 2   LAW OFFICES OF JAMES R. GREINER
     555 UNIVERSITY AVENUE, SUITE 290
 3   SACRAMENTO, CALIFORNIA 95825
     TELEPHONE:(916) 649-2006
 4   FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     ANDREA CADENA
 6
 7
 8                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9                           EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                    )        CR.-S-07-248-21 WBS
11                                                )
            PLAINTIFF,                            )        STIPULATION AND PROPOSED
12                                                )        ORDER CONTINUING THE
            v.                                    )        JUDGMENT AND SENTENCING
13                                                )        DATE TO
                                                  )        MONDAY, FEBRUARY 25, 2013
14                                                )
     ANDREA CADENA,                               )
15                                                )
           DEFENDANT.                             )
16   _______________________________              )
17
18          The parties, the United States of America, represented by Mr. Jason Hitt and Mr. William
19   Wong, and the defendant, Andrea Cadena, represented by Mr. James R. Greiner, hereby agree and
20   stipulate that the present date set for Judgment and Sentencing, Monday, November 19, 2012, can be
21   vacated by the Court.
22          The parties, the United States of America, represented by Mr. Jason Hitt and Mr. William
23   Wong, and the defendant, Andrea Cadena, represented by Mr. James R. Greiner, hereby agree and
24   stipulate that a new date of Monday, February 25, 2013, can be set by the Court for the new
25   Judgment and Sentencing date.
26          The parties also agree to modify the Disclosure dates for the pre-sentence investigation report
27   as follows:
28                                                     1
       Case 2:07-cr-00248-WBS Document 1174 Filed 11/19/12 Page 2 of 3


 1                 Judgment and Sentencing date                  February 25, 2013
 2
                   Reply date                                    February 18, 2013
 3
                   Formal Objections by defense                  February 11, 2013
 4
                   Report date to be filed with the Court         February 4, 2013
 5
 6                 Informal Objections                            January 28, 2013

 7
                   Draft Report to the parties                   January 14, 2013
 8
 9
10                                        BENJAMIN B. WAGNER
                                          UNITED STATES ATTORNEY
11
                                        /s/ Jason Hitt -by e mail authorization
12   DATED: 11-15-12              _____________________________________
13                                      Jason Hitt
                                        William Wong
14                                      ASSISTANT UNITED STATES ATTORNEYS
                                        ATTORNEY FOR THE PLAINTIFF
15
16
     DATED: 11-15-12
17                                        LAW OFFICES OF JAMES R. GREINER
18
                                          /s/ JAMES R. GREINER
19                                        ___________________________________
                                          JAMES R. GREINER
20                                        ATTORNEY FOR DEFENDANT
                                          ANDREA CADENA
21
22
23
24
                                                  ORDER
25
            The Court after reading and considering the parties agreements and stipulations,
26
27   adopts them as follows:

28                                                    2
       Case 2:07-cr-00248-WBS Document 1174 Filed 11/19/12 Page 3 of 3


 1          Judgment and Sentencing date                 February 25, 2013
 2
            Reply date                                   February 18, 2013
 3
            Formal Objections by defense                 February 11, 2013
 4
            Report date to be filed with the Court       February 4, 2013
 5
 6          Informal Objections                          January 28, 2013

 7          Draft Report to the parties                  January 14, 2013
 8
            The Court vacates the Judgment and Sentencing date of Monday, November 19, 2012 and
 9
     resets the Judgment and Sentencing to Monday, February 25, 2013.
10
11          FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.

12
13   DATED: November 16, 2012
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                                   3
